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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR381
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )          TENTATIVE FINDINGS
                                             )
ANGELA D. HARMS,                             )
                                             )
             Defendant.                      )

      The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant’s objections thereto (Filing No. 105). See "Order on Sentencing Schedule,"

¶ 6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory. The Court has also reviewed the Defendant’s motion

for downward departure or variance and the supporting brief (Filing Nos. 107, 108.)

Objections

      The Defendant objects to the quantity of controlled substance attributable to the

Defendant in ¶¶ 20-24 and 32 and the base offense level 32. The plea agreement reached

pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B) recommends a base offense

level of 30 based on at least 350 but less than 500 grams of a mixture or substance

containing a detectable amount of methamphetamine. The Court’s tentative findings are

that, absent unusual circumstances, the plea agreement should be upheld and the base

offense level should be calculated as level 30.
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Downward Departure or Variance

       The Defendant requests a downward departure or variance based on extraordinary

post-offense rehabilitation and overstatement of criminal history. The Defendant suggests

a sentence of 60 months imprisonment. The motion will be heard at sentencing.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the Defendant‘s objections (Filing No.

105) to the PSR are granted;

       2.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       6.     The Defendant’s motion for downward departure (Filing No. 107) will be heard

at sentencing.



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     DATED this 14th day of September, 2007.

                                           BY THE COURT:

                                           S/ Laurie Smith Camp
                                           United States District Judge




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